                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN


 UNITED STATES OF AMERICA,

                                Plaintiff,
         v.

 TOWN OF LAC DU FLAMBEAU,

                                Defendant and
                                counterclaimant,                      OPINION and ORDER

 And                                                                      23-cv-355-wmc

 GORDON ANDERSON, et al.,


                 Intervenor defendants and
                 Intervenor counterclaimants.




       This case arises out of an earlier decision by the Lac du Flambeau Band of the Lake

Superior Chippewa Indians (“Tribe) to place blockades on four roads (“Roads”) within the Lac

du Flambeau Indian Reservation that provide access to property and homes on the Reservation

owned by non-tribal members. Although the Town of Lac du Flambeau (“Town”) had been

maintaining the roads for decades, neither the Town nor individual, non-Indian homeowners

can point to a valid, enforceable right-of-way easement on those roads since the expiration of

a little known 50-year easement some ten years ago, at least according to the Tribe. After a

homeowners’ lawsuit attempting to challenge the blockade was dismissed for lack of

jurisdiction over the tribal defendants in August 2023, Pollard, et al. v. Johnson, et al., 23-cv-135-

wmc (W.D. Wis.), the United States filed this trespass and ejectment action on its own behalf

and as trustee for the Tribe, as well as 76 individual, Indian landowners (“Allotees”) against
the Town, essentially seeking to establish the Tribe’s right to prevent non-Indian owners access

to their property on the Reservation. More than 70 homeowners who rely on the Roads to

reach their property (“Homeowners”) have also intervened as defendants, and both the Town

and Homeowners filed several counterclaims against the United States seeking to establish

their respective rights to access.

       The Homeowners have now filed a motion for a preliminary injunction (dkt. #88), in

which the Town has joined (dkt. #107), seeking an order prohibiting the United States and

Tribe from restricting access to the four Roads during the pendency of this lawsuit. The United

States opposes that motion. The court held oral argument on the motion on September 20,

2024, and now grants the Homeowners’ motion in part and denies it in part.1 Specifically, the

court will enjoin the United States and its employees, agents and representatives from

restricting or limiting access to the Roads to the Town for maintenance or the Homeowners

for access to their properties during the pendency of this lawsuit. As owner of the Roads in

trust for the Tribe, the court will likewise require the United States to communicate this

injunction to the Tribe and encourage its compliance. However, as discussed below, the court

will not expressly enter an injunction against the Bureau of Indian Affairs (“BIA”) or the Tribe

at this time, but will consider expanding the injunction to expressly include them or Tribal

members if they take steps to frustrate the intent or thrust of the court’s preliminary injunction

pending final judgment in this case.




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 The United States has also filed a motion to dismiss one of the Town’s counterclaims on
various grounds. (Dkt. #68.) That motion will be addressed by separate order.


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                                        BACKGROUND2

       A. Lac du Flambeau Indian Reservation

       The Lac du Flambeau Indian Reservation was established in 1854 via the Treaty with

the Chippewas. It is now one of a number referred to as “checkerboard” reservations in this

country, meaning that there are multiple parcels of land on the Reservation owned in fee simple

by non-tribal members, including the Homeowners involved in this case. At least in part, the

Reservation’s checkerboard nature is the result of the allotment provision in Article 3 of the

Treaty with the Chippewa, 10 Stat. 1109 (Sept. 30, 1854), which permitted the United States

to assign tracts of Reservation land to individual tribal members.3

       As part of a larger, troubling history in our country, allotment on the Reservation

coincided with congressional efforts nationwide to dissolve reservations and extinguish tribal

sovereignty. Such efforts increased with the passage of the General Allotment Act in 1887

(“Dawes Act”), 25 U.S.C. § 331, et seq., which adopted a nationwide version of the allotment

provisions found in treaties like the 1854 Treaty with the Chippewa. Both the Treaty and

Dawes Act started the process by which tribal lands could be allotted, then by later enactments

sold or assigned to non-tribal members, effectively removing them from tribal control. By

1904, there were already 115 allotments made on the Lac du Flambeau Reservation, and by

1935, 600 allotments had been made.




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  These background facts are based on the Homeowners’ proposed findings of fact in support of
their motion for preliminary injunction (dkt. #90), the United States’ responses to those proposed
findings (dkt. #109), and the evidence in the record.
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 See Lac Courte Oreilles Band of Lake Superior Chippewa Indians of Wisconsin v. Evers, 46 F.4th 552,
560 (7th Cir. 2022) (describing history of allotment on Ojibwe lands in Wisconsin).


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         The allotment process ended with the Indian Reorganization Act in 1934. However,

lands that had already passed to non-Indians did not return to tribal control, and Congress

enacted the Indian Right-of-Way Act, 25 U.S.C. §§ 323–28 (“ROW Act”), in 1948 to ensure

a process was in place to control access to within and across Indian trust lands. Today, the Lac

du Flambeau Reservation is 86,600 acres in total (or 135 square miles), comprising 57,935

acres of Tribal or Allottee land (66.9%) and 28,665 acres of alienated fee land (33.1%). All of

the Homeowners involved in this case own their land in fee simple, which previous owners

obtained under Congress’s now-repealed allotment policies




         B. Four Roads at Issue

         The Town of La du Flambeau is located in the center of Reservation. For more than 50

years, the Town has maintained certain roads on Reservation land that provide access to non-

tribal members’ fee property within the boundaries of the Reservation, including the four Roads

at issue in this case. These Roads were built more than 60 years ago and, with a single

exception, provide the only access to the Homeowner’s homes and fee property.4              The

approximately 1.3 miles of the Roads at issue are located on land owned by the United States

in trust for the Tribe and administered by the BIA.

         In the 1960s, for reasons that are not entirely clear nor disclosed, the BIA apparently

granted a formal 50-year, right-of-way easements on the Roads to various private land

developers under the ROW Act. The developers later assigned these easements to the Town,

and the roads were treated as public roads for the next 50 years or more. Although the Town




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    One family has alternative access to their home.


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maintained the roads for the public for decades after, however, its right-of-way easements on

all four Roads expired between 2011 and 2018, and no formal easements have been renewed.

       From the limited evidence in the record, it appears that the Homeowners acquired their

properties between the 1970s and 2010s. When they took title to their respective properties,

they did so without notice of the rights-of-way issue on the Roads, including the Town’s 50-

year rights-of-way under the ROW Act, which were never recorded in the Register of Deeds

office for Vilas County or any other searchable recording system available to the public.

Instead, according to the United States, the rights-of-way were recorded in a BIA management

system, but the United States does not state whether this system was publicly-searchable,

which seems unlikely.

       In 2013, the BIA sent letters to some Homeowners, notifying them that the easement

across a portion of the Roads would be expiring. (Dkt. #46-1–46-4, in Pollard, et al., 23-cv-

135-wmc.) In January 2014, the Town also sent a letter to some of the Homeowners (dkt.

#91-19), stating that it would take care of communicating with the BIA regarding rights-of-

way and asking that no Homeowners individually pursue an individual right-of-way. The Town

and the Tribe then began negotiating, and the Tribe issued a statement that “it will not deny

any resident of Lac du Flambeau access to their home, nor will any ‘fee’ be imposed on

residents.” (Dkt. #91-5.)

       In 2017, however, after negotiations between the Town and the Tribe broke down, and

the Town failed to pursue a renewal of the rights-of-way on any of the Roads, some of the

Homeowners proceeded to apply for individual rights-of-way under the procedures afforded by

the ROW Act. The BIA then sought formal appraisals the Roads and determined that the fair

market value to renew all of the rights-of-way for another 50-year term was $79,000. However,


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the Tribe demanded significantly more money -- ranging at various times from $10 to $20

million. By early 2023, further negotiations over the appropriate value of new rights-of-way

had stalled completely, and the Tribe has since stated that it would not approve any new long-

term easements over the Roads under the ROW Act.




       C. Blockage of Roads

       As a result, in January 2023, the Tribal Council sent letters to the Town, Homeowners

and title insurance companies stating that: any rights-of-way on the Roads had expired five to

more than 10 years ago; the Town and Homeowners were considered in trespass; and the Tribe

reserved the right to limit access to the roads, including by posting signs, road checkpoints and

physical barriers. Then, on January 31, the Tribal Council erected barriers across the four

Roads, consisting of large concrete blocks with chains between the blocks, as well as wooden

barricades in front of the chains. At least one camera was also installed to monitor the use of

the Roads by Homeowners or others.

       These barriers remained in place between January 31 and March 13, 2023. During this

time, the Homeowners could not use the Roads to come and go from their homes freely, even

to obtain necessities such food, pet supplies and home repair materials. The Homeowners were

permitted to leave via the Roads for medical appointments by calling tribal police to unlock

the chains on the barricades. If they were to leave their home for any other reason than a

medical appointment, however, Homeowners were not always allowed back through the

barricades to return home. As a result, the Homeowners aver to having suffered from anxiety

and distress from not being allowed back through the barricades to return home, with one child




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reportedly hospitalized due to a panic attack after she was unable to return to her home from

school. Other Homeowners reported not receiving mail for weeks.




       D. Litigation History

       In February 2023, a group of Homeowners that rely on the Roads to access their homes

filed a lawsuit, naming as defendants the 12 individual members of the Tribe making up the

Lac du Flambeau Tribal Council. See Pollard, et al. v. Johnson, et al., 23-cv-135-wmc (W.D.

Wis.). In particular, the Homeowners claimed that the Tribe’s interference with access to the

four roads violated the Federal-Aid Highway Act, 23 U.S.C. § 101 et seq., the Tribal

Transportation Program, 23 U.S.C. §§ 201–202, and implementing regulations at 25 C.F.R.

Part 170. They also brought state-law nuisance and implied easement claims. Ultimately, the

case was dismissed for lack of subject matter jurisdiction and the Tribe’s sovereign immunity.

       On March 13, 2023, while that lawsuit was pending, the Tribe opened the Roads under

temporary access permits issued by the Tribe to the Town, which cost the Town $600,000 to

continue. After the Town’s entire road budget for 2024 has been completely depleted due to

the monthly payments for this temporary access, the Town claimed it could no longer pay to

keep the Roads open. Thus, the last temporary access permits expired on September 12, 2024,

and the Tribe has threatened to but the barricades back up if the Town fails to pay the next

monthly permit fee.

       Meanwhile, the United States filed this trespass and ejectment action against the Town

under the ROW Act. The Town filed counterclaims, and the Homeowners intervened as

defendants, filing their own counterclaims for implied and necessary easements. There are two

other, related cases pending in this court: (1) Town of Lac du Flambeau v. Newland, et al., 23-cv-


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541-wmc, in which the Town sued federal agencies alleging violations of the Administrative

Procedures Act, stemming from the BIA’s decision to remove the Roads from the Tribal

Transportation Program’s National Tribal Transportation Facilities Inventory and arguably

authorizing the Tribe to exercise what rights it has to reclaim the Roads for use solely by the

Tribe and its members; and (2) Anderson, et al. v. Newland, et al., 23-cv-777-wmc, in which

several individual property owners sued federal agencies and officials alleging similar violations

of the Administrative Procedures Act and the Constitution. Those cases have motions pending

that will be addressed by separate order as well.




                                           OPINION

       Preliminary injunctive relief is an “extraordinary equitable remedy that is available only

when the movant shows clear need.” Turnell v. CentiMark Corp., 796 F.3d 656, 661 (7th Cir.

2015); see also Doe v. Univ. of S. Indiana, 43 F.4th 784, 791 (7th Cir. 2022) (“A preliminary

injunction is an extraordinary remedy never awarded as of right.”) (quoting Winter v. Natural

Resources Defense Council, Inc., 555 U.S. 7, 24 (2008)). To obtain a preliminary injunction, the

Town and Homeowners must show that: (1) they have “some likelihood of prevailing on the

merits”; (2) traditional legal remedies would be inadequate; and (3) they will suffer irreparable

harm without the relief. Finch v. Treto, 82 F.4th 572, 578 (7th Cir. 2023); Speech First, Inc. v.

Killeen, 968 F.3d 628, 637 (7th Cir. 2020). If they pass these thresholds, the court proceeds

to a balancing analysis, weighing the harm that the Homeowners and Town would suffer absent

a preliminary injunction against the harm the United States would suffer were a preliminary

injunction issued, as well as considering whether an injunction is in the public interest. Planned




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Parenthood of Ind. & Ky., Inc. v. Comm’r of Ind. State Dep’t of Health, 896 F.3d 809, 816 (7th Cir.

2018); Courthouse News Serv. v. Brown, 908 F.3d 1063, 1068 (7th Cir. 2018).

       Here, the Homeowners request a preliminary injunction to prohibit the United States

and Tribe from reinstituting barriers and restricting their access to the Roads.              The

Homeowners’ motion is based on their easement claim, and in particular, their claim that they

do not need rights-of-way under the ROW Act because they already enjoy a common law

easement over the Roads for purposes of accessing their properties. They also contend that a

right-of-way easement was implicitly included in the original allotments of the lands purchased

by non-Tribal members and those easements have run with those allotted lands since their

purchase.




I.     Likelihood of Success on the Merits

       The first, and in this case the principal, question is whether the Homeowners have

shown that they are likely to succeed on the merits on their easement claim. “Some likelihood

of success” is more than “a mere possibility of success,” but “the applicant need not show that

it definitely will win the case.” Grubhub Inc. v. Relish Labs LLC, 80 F.4th 835, 844 (7th Cir.

2023). As the court discussed with the parties at the preliminary injunction hearing, the

Homeowners have certainly shown some likelihood of success on their claim that they have a

long-standing common law right of access across the Roads to their property.5




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 The parties appear to agree that federal law applies to the Homeowners’ easement claims. See
McFarland v. Kempthorne, 545 F.3d 1106, 1110 (9th Cir. 2008) (federal law governs claim of
easement over lands owned by the United States).


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       In particular, the Homeowners have shown that in Brendale v. Confederated Tribes &

Bands of Yakima Nation, 492 U.S. 408 (1989), the United States Supreme Court recognized a

common law right of access to allotment lands within a Reservation. The Brendale case involved

a dispute about the authority of the Yakima Nation to zone land owned by non-tribal members

located within the boundaries of the reservation. By a six to three margin, the Supreme Court

held that the Tribe lacked authority to zone non-tribal member land within the reservation if

the land was open to the general public. By a five to four margin, the Court also held that the

Tribe retained authority to zone non-tribal land in an area of the reservation that was closed

to the general public. No single opinion garnered a majority: four Justices concluded that the

Yakima Tribe lacked any authority to zone non-Indian fee land, and three Justices determined

that the Tribe could zone fee land in all areas of the reservation. Declining to join either of

these opinions, Justice Stevens, joined by Justice O'Connor, concluded that the Tribe retained

zoning authority over non-Indian land only in areas closed to the public. Id. at 443–44

(opinion of Stevens, J.)). And because he provided the crucial fifth (and by concurrence, sixth

vote), Justice Stevens’ opinion is actually controlling.

       As part of his reasoning, Stevens explained that a Tribe’s “virtually absolute power to

exclude” can be “diminished by federal statute or voluntarily surrendered by the Tribe itself.”

Id. at 433. Thus, he held for the majority that the Tribe’s ability to exert control had been

diminished in the open area of the Yakima Reservation as a result of allotment policies that

had alienated land within the Reservation to non-Indians. Justice Stevens further stated that

“treaty rights with respect to reservation lands must be read in light of the subsequent

alienation of those lands,” and that alienation includes a right to access the land. Specifically,

he explained, “[a] statute that authorizes the sale of a parcel of land in a reservation must


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implicitly grant the purchaser access to that property. . . Congress could not possibly have

intended in enacting the Dawes Act that tribes would maintain the power to exclude bona fide

purchasers of reservation land from that property.” Id. at 437; see also Merrion v. Jicarilla Apache

Tribe, 455 U.S. 130, 141 (1982) (“When a tribe grants a non-Indian the right to be on Indian

land, the tribe agrees not to exercise its ultimate power to oust the non-Indian as long as the

non-Indian complies with the initial conditions of entry.”).

       As the United States correctly points out, the Brendale case was about Tribal zoning

authority and did not actually resolve the question at issue before this court as to whether a

Tribe can preclude non-tribal members’ long-standing access to their fee property via Tribal

land without compensation. The United States further argues, correctly, that easements, or

encumbrances generally, should not be implied on Tribal trust land due to the Tribe’s sovereign

authority; rather, Congress has designated the ROW Act as the proper mechanism for obtaining

rights-of-way on Tribal land. See Fitzgerald Living Tr. v. United States, 460 F.3d 1259, 1267 (9th

Cir. 2006) (“The intent to grant an easement must be so manifest on the face of the instrument

that no other construction can be placed on it.”); Imperial Granite Co. v. Pala Band of Mission

Indians, 940 F.2d 1269, 1272 (9th Cir. 1991) (no easement by implication or necessity over

tribal land); Confederated Salish and Kootenai Tribes v. Lake Cnty. Bd. of Commissioners, 454 F.

Supp. 3d 957 (D. Mont. 2020) (same).

       Although not directly on all fours, Justice Stevens’ observations dictating the outcome

in Brendale as to Congress’s intent in permitting the sale of allotments of Tribal lands to non-

tribal members are persuasive, not just in terms of practical reasoning, but also in light of other

persuasive authority concerning federal common law access rights and Congressional intent.

In particular, the Ninth Circuit Court of Appeals relied on Brendale for the proposition that


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“the transfer of tribal land to nonmembers ‘must implicitly grant the purchaser access to that

property.’” Evans v. Shoshone-Bannock Land Use Pol’y Comm'n, 736 F.3d 1298, 1305 (9th Cir.

2013). In addition, two district courts have already relied on Congressional intent in implying

access rights for non-Indian landowners on Tribal trust land. In Brendale v. Olney, c-78-145

(E.D. Wash. 1981), the United States had barred a non-Indian who owned fee land within the

boundaries of the Yakima Reservation from using BIA roads without a permit to access his

property. (Dkt. #91-3.)6 In response, the landowner argued that he had a common law

easement to access his land via the BIA road, and the district court agreed, holding that a right-

of-access easement accompanied the original allotment of the land now owned by the plaintiff.

Id. at 3, 5–7. And in Confederated Salish & Kootenai Tribes v. Namen, 380 F. Supp. 452, 459 (D.

Mont. 1974), aff'd, 534 F.2d 1376 (9th Cir. 1976), which concerned a dispute over non-Indian

landowner riparian rights, the district court held that through allotment policies, Congress

“must have intended that the [allotments] would include the customary riparian rights of access

and wharfage.” Id. at 466. As that court further held, “[t]he fact that Congress did not expressly

delineate these rights does not negate their existence. It was not necessary for Congress to

specify every incident of ownership which accompanies a patent to lands on an Indian

Reservation.” Id.

       Court decisions involving the Homestead Act, 43 U.S.C. § 161 (repealed 1976),

likewise provide persuasive authority to support the Homeowners’ claim for rights of access.

In particular, at least two courts have found that the Homestead Act implied a right of access

across public lands to reach an otherwise landlocked homestead property. See Fitzgerald Living


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 This Brendale case involved the same non-Indian landowner who was involved in the Brendale
case before the Supreme Court, but was a separate case that was not appealed.


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Tr. v. United States, 460 F.3d 1259, 1265 (9th Cir. 2006) (“[W]e accept the Fitzgeralds’

argument that the Homestead Act contemplated an inholder's access to his property over public

lands.”). In fairness, neither the Fitzgerald court nor the Jenks court implied an “easement.”

The Fitzgerald court held that the Homestead Act “sanctioned the longstanding customary use

of public lands by a settler,” and that the Forest Service could require an inholder to apply for

a permit with “reasonable” conditions, id. at 1265, 1268; and the Jenks court held that the

Homestead Act created an implied “right of access” in the form of an “implied license” to use

public lands to access their property. 129 F.3d at 1354. In so holding, the Jenks court appears

to distinguish between an “easement” and a “license” based on the extent to which the

government could regulate access. Specifically, the court described easements as access “free

from reasonable government regulation,” whereas a license would permit the government to

impose requirements so long as they were not arbitrary and capricious. Id. at 1354.

       Regardless, in light of the extensive persuasive authority cited by the Homeowners and

discussed above -- and arguably importantly, the admitted inability by the United States to

cite any authority holding to the contrary -- the court has little trouble holding that the

Homeowners have a likelihood of succeeding on the merits of their claim to some right of access

to their properties located within the Lac du Flambeau Reservation and consistent with those

rights, the Town may at least continue to maintain those access Roads. The court need not

determine at this stage the precise nature of that right, nor whether the United States or Tribe

could place reasonable restrictions on it or claim a right to some form of compensation for its

continuation. Although the Jenks and Fitzgerald courts found it necessary to distinguish between

a license, easement or historical public access, it is unnecessary to do so at this early stage of

this lawsuit as the United States Supreme Court itself has explained, “[a] right-of-way is a type


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of easement.” United States Forest Serv. v. Cowpasture River Pres. Ass'n, 590 U.S. 604, 613 (2020).

“Specifically, a right-of-way grants the limited ‘right to pass ... through the estate of another.’”

Id. Moreover, even if the United States or Tribe could impose reasonable restrictions on the

Homeowners’ or Town’s access, they have not attempted to so here. Rather, to date, the Tribe

has blocked access altogether or demanded $20 million for access. Both are unreasonable

restrictions: the former because it would deny virtually all access and the latter because it has

no bearing to the fair market value of the isolated, approximately 1.3 miles of roadway accepted

by BIA. Thus, the Homeowners have shown a likelihood of success on their easement/right-

of-access claims.




II.    Lack of Legal Remedies and Irreparable Harm

       The Homeowners likewise have shown that they have “no adequate remedy at law” and

“that without [injunctive] relief [they] will [liley] suffer irreparable harm.         See Planned

Parenthood of Ind., 896 F.3d at 816 (citation omitted). For preliminary relief to be granted,

irreparable harm must be “likely.” Michigan v. U.S. Army Corps of Engineers, 667 F.3d 765, 788

(7th Cir. 2011). Although the United States argues that it remains uncertain whether the

Tribe will again block the roads, the evidence in the record suggests otherwise. Just last month,

the Tribe sent a letter to the Town stating that it would not accommodate the Town’s budget

concerns and that failure to pay for temporary access permit fees “will result in restricted access

over the Four Roads.” (Dkt. #92-4 (emphasis added).) Given that the Tribe already restricted

access for a significant period of time last year, and then demanded the Town pay an exorbitant,

monthly fee to keep them open, the Homeowners have shown a substantial likelihood that it

will do so again.


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       Moreover, the harm the Homeowners will suffer if Roads are again blocked would be

significant and irreparable.    The numerous declarations from Homeowners regarding the

mental and emotional distress, in addition to practical impacts compounded by restricted

access to school, work, medical care, police and other first responders, are more than sufficient

to establish irreparable harm. In contrast, the Tribe has allowed access to these obscure, tiny

access roads for decades without the United States showing any harm, save for the indignities

long ago inflicted by Congress in passing the Dawes Act and allowing the sale of allotted land

to non-tribal members. However painful that may be (and the court does not discount it),

surely the United States and the Tribe can wait a short, additional time for the parties’ rights

here to be fully adjudicated.




III.   Balance of Harm and the Public Interest

       The remaining factors –the balance of harm and the public interest—also favor the

Homeowners. Again, aside from a brief interference with the Tribe’s sovereign rights, the

United States has identified no risk of harm to itself, the Tribe or the public that would flow

from a temporary injunction. Nor can the court think of any. The Roads have been open to

the public for more than 50 years, and there is no evidence in the record suggesting that public

use has caused any problems. Nor does the United States suggest that it or the Tribe seeks to

use the land for some other purpose.          In contrast, the Homeowners’ potential harm is

indisputable, as is the harm to their guests and the public’s interest in having the Roads open

for access by the Town for maintenance, mail and package delivery, police, and other first

responders, and essential commerce.      Accordingly, the court is persuaded that entry of a

preliminary injunction is appropriate here.


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IV.    Enforceability of the Preliminary Injunction

       The final question is whether entry of an injunction would be futile. The United States

argued both in its opposition brief and at the injunction hearing that any preliminary

injunction would be meaningless because it could not be enforced against the Tribe, which is

the entity that actually blocked the Roads and is threatening to do so again. In particular, the

United States argues that the Tribe’s sovereign immunity would bar enforcement of the

injunction order against it, and that any effort to include the Tribe in the injunction order

would exceed the bounds of Federal Rule of Civil Procedure 65.

       In contrast, all parties agree that the Tribe will be bound by any final judgment in this

case due to the United States’ appearing as trustee for the Tribe. See Heckman v. United States,

224 U.S. 413 (1912). While none of the parties nor the court were able to find any legal

authority addressing why a Tribe would not be similarly bound under Heckman by an interim

order issued in a case filed by the United States on the Tribe’s behalf, the court is hard-pressed

to think of a reason, especially since the Tribe is being afforded the luxury of using the

government, and by extension this court, as both sword to do its bidding and a shield from any,

at least interim, accountability.

       That being said, the court is not convinced that the Tribe could simply flout an interim

order against the United States in this case, nor will it assume the Tribe will do so out of the

gate. As the Supreme Court explained in Heckman, when the United States sues on behalf of a

Tribe, the “efficacy” of the litigation “does not depend upon the Indians’ acquiescence” in the

litigation. Id. at 444–45. Rather, the result “bind[s] not only the United States, but the Indians

whom it represents in the litigation.” Id. at 445–46. See also id. at 445–46 (“[I]t could not,

consistently with any principle, be tolerated that, after the United States on behalf of its wards


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had invoked the jurisdiction of its courts ... these wards should themselves be permitted to

relitigate the question.”) Several other cases in which the United States sued on behalf of a

Tribe -- particularly involving water and other resource rights -- have held that Tribes are bound

by consent decrees or other court decisions. E.g. Arizona v. California, 460 U.S. 605, 627 (1984)

(water litigation) (United States has “full authority” to litigate claims for tribes and “bind them

in litigation”). Although these cases involve final judgments, the court again sees no persuasive

reason why a Tribe would not also be bound by a federal court’s preliminary injunction.

       At this time, however, the court will not include the Tribe in the injunction order. 7

Instead, the court will direct the United States to notify the Tribe of this decision and of the

court’s expectation that Roads will remain open during the pendency of this lawsuit for access

by the Homeowners and their guests, as well as the Town to continue to maintain the Roads

and first responders, mail and package delivery, other essential services like busing children and

continued pickups and deliveries. If the Tribe chooses to disregard the court’s order, the

Homeowners or Town should notify the court immediately and seek any relief that they deem

necessary.



                                             ORDER

       IT IS ORDERED that:

       (1) The Homeowners’ motion for a preliminary injunction (dkt. #88) is GRANTED IN

PART and DENIED IN PART. The motion is GRANTED as follows:




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  The court likewise will not require the Homeowners or Town to post a bond under Federal
Rule of Civil Procedure 65(c), given that the United States did not object to the Homeowners’
request for waiver of a bond.


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                  The United States is preliminarily enjoined from using any means to restrict

                  access to the four Roads at issue in this case during the pendency of this

                  litigation.

The motion is DENIED in all other respects.

       (2) The United States is further directed to provide a copy of this order and the separate

injunction order to the Tribe, as well as encourage the Tribe to eliminate any barriers or other

restrictions impending Road access, and refrain from imposing any additional restrictions, on

the Homeowners’ access to the Roads during the pendency of this litigation.


       Entered this 26th day of September, 2024.

                                            BY THE COURT:

                                            /s/
                                            ________________________________________
                                            WILLIAM M. CONLEY
                                            District Judge




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